953 F.2d 640
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Stephen Rocco CEVOLI, a/k/a Steven Joseph Frostman,Defendant-Appellant.
    No. 91-7618.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 10, 1992.Decided Jan. 29, 1992.
    
      Appeal from the United States District Court for the Western District of North Carolina, at Statesville.   Robert D. Potter, District Judge.  (CR-88-38, CA-90-110)
      Stephen Rocco Cevoli, appellant pro se.
      Thomas J. Ashcraft, United States Attorney, Charlotte, N.C., for appellee.
      W.D.N.C.
      AFFIRMED.
      Before DONALD RUSSELL, WIDENER and SPROUSE, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Stephen Rocco Cevoli appeals from the district court's order refusing relief under 28 U.S.C. § 2255.   Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the district court.   Cevoli v. United States, Nos.  CR-88-38, CA-90-110 (W.D.N.C. June 26, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    